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                    Appendix T
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                                                                                                           HIBIT
                                                                                                           G
                                                                     ~   .   .~· .
                                 S . ·l' ATE    or              Ml CHI GAN

                              ClRC'U JT COURT t'OR TIIE COUNTY OF l<ENT



                       WOLVERINE SHOE li. TANN I NG                           )
                        CORPOR>.'l' lON_, a Mi c higan                        )
                        corpor &"-\ on .                                      )      Civil Acti <>n
                                                                              )        Ne,.   2()09
                                                         Plaintiff            )
                                                                              )
                       va                                                     )
                                                                              )
                                                                              )
                       TOWNSHJf Of Pl.AlNfIELD,          ti t   al            )
                                                                              )
                                                         Defendants)



                                 At a aeaaion of said Court held i n the
                               Court Houae i n the City of Grand Rapids, on
                               the   6th   day of   May, l %6 .


                                PRESENT1       HONORABLE             STUART HOFFlUS
                                                                     Circuit Judge


                                The parties of this suit having come to an amicable

                       aettlel'l!en t , and li he Court being fully advi11ed in the pre-

                       mises, and apprc,vea of said settlement ,

                                NOW THD';U'ORE • IT IS HEREBY OIU>EUD AIID ADJUDGED 1

                                l.   Th'<! plaintiff . Wolverine Shoe 6' Tanning Corpora-

                       tion, is auU',,:.,rize d to use that portion of the premi11es

                       described in p,a rag raph 2 of it s Complaint, which is out-

                       lined in r ed otri Exhibit A, attached to said Complaint,

                       as a dump for :its industrial waatea.                         It is adjudged that

                       said premises so outlined in r ed is a nonconforming use

                       wi t hi n that t,: rm as used in the Zoning Ordinance of

                       Plai nfi e ld To wnship, which premises are described as

                       f ollows:




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                                                                  ?
                               Co m;nenc1n•~ o n the Wti st   l 1nt> of t he E 1/ 2
                               o f the SW I / 4 o f Sect i on 4, Town 8 No rth,
                               Ra n ge 11 WNH. , 1740 f <H.•t. N o f tJw N boun d ary
                               li ne o f llou a c Stt:oe t , th ,mce 6 ,1lon9 sai d
                               Wa st I l ne t o Uw No rth tau ndary o f !lo use
                              Stree t, t hon cc East a long t ho North l1ne o f
                              Ho us e Street , 300 fe<! t morf' or l ea& t o t he
                              N and S L/ 4 l ine, thenco N ~ long aaid N
                              and S l / 4 1 inc , 16 20 foc l- , the nce North-
                              wes terl y 132 0 fee t mor t! or l e ss to be g inn1nq ,
                               bc inq approxi roate ly SO acrc 11, Plainfield
                               To...,n:ihip, l(ont Cou·nt:y, Mi chigan ,


                               2.   Authorizat i on to uac said premise s as          II   non-

                       conforming u,ie for the purpose of a dump for disposal of

                       the industrial wastes of the plaintiff, i• subject to

                       the fol lowing-   condition ■,


                                    A.    Wolverine Shoe      &   Tanning Corporation shall

                       c.o nform with the following conditions and          provision ■,


                                          (1)   It •hall prOl'llptly become licensed by

                       the State Health Department under Act 87 of Public Acta

                       of 1965 , to operate said dump.

                                          (2)   It ahall conform with Act 87 of Public

                       Act• of 1%5 and to all rule• and regulations adopted

                       thereunder by the Department of Public Health.

                                          (3)   It shall conform to any Ordinance

                       of the Township of Plainfie ld now in effoct and/or later

                       hereafter enacted pertaining to dumps .

                                          (4)   It •hall dispose of industrial solids

                       and liquid wastes in such manner that odors will not un-

                       reasonably interfe re with the pe ace and enjoyment of

                       right s of persons in that c ommunity, and make such

                       treatmen L of such induatrial wastes as is reasonably

                       possi b le to e liminate ;0dors therefrom .




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        \'




                                                                   7 r-->-:·10
                                         (4 1/2)       H   ahal I maintain a JO loot buffer

                       strip of pinu• or· aimihr shrubs or trees aurroundinq said

                       premises.

                                         (~,)    It. shall cov<•r sludge and all other

                       industrial wastes, ot.hor than l.iquid wastes, daily.

                                         (6)     lt   shall dump industrial liquor and/or

                       other liquid or semi-liquid wastes only in such places as

                       teats previously taken show will readily absorb the aame

                       ao that no part of 11.- ,id wastes wi 11 remain uncovered over

                       sixty (60) hours .

                                         (7)     Tran ■portation       of    indu ■ trial   waatea

                       ■ hall   be n<ade .in a unner that will prevent any of                 ■aid


                       wastes frOfA sp.i.U.i n9 from said containers, in tran•it !rom

                       the place of busin••• until             ■aid wa■ te       ia du-.,ed in the
                       area above described.
                                         (8)     lt   ■hall     keep the area of said dwnp
                       and its preadaea adjoining in auch 111&nner that they ahall
                       not beCOIDe unsightly ao as to adversely affect the aarket

                       value of property in the c0a111Unity.

                                         ( 9)    It ■hall not expand the dU111p to any

                       other preftlisea fra,i that abOlfe described •• being authori-

                       zed as a nonconforllllng uee, except by any variance or re-

                       zoning which raay be granted in confol'll\ahce with the Zoning

                       Ordinance of Plainfield Township.
                                          (10)    If a public diapo•al ayetea beCOIDlts

                       available, it shall use said systein in the di11poaal of

                       ita industrial wastes.

                                          (11)     It ahall see that water supplies

                       and/or lakes or other waters not owned by the company



                                                       _., _

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                       wi ll no l be con tnm1nato:.,!l        l; y    a ny use madr., of            fHtlcl   dump.

                                             ( 12 )    Il   fl)lsl   11   l'!O   U6(!   IHI.I d   dump in r.;uch

                       mdnn ar tha t it will not a ff ord a hrvedi ng placu for flie s

                       or vermin.

                                             (13)      Copies of plnn11 ilnd spec iflcat.ions

                       f urnished to any Health Department shall also be furnishe d

                       to the Township of Plainfield, at the same t".ll!K! such plans

                       are fu r ni f, h<·rl to the Health Department.

                                             (14)      lt   shall make the dump and surrounding

                       area owned by !t available for inspection l.iy the Town

                       Board members and/or any of its duly authorized agents

                       and/or attorneys. at any reasonab le hours dur i nq working

                       days. when       reque ■ ted.


                                             (15)      Said dwnp shall be u•ed for dis-

                       po. . 1        of the induatrial              wa ■ tea     only of said company.

                                             (16)      Said coaipany will use said duq> to

                       the Mximum extent for disposal of its industrial wa•te•

                       con1iatent with the above proviaiona.

                                 3.     Co•t• are awarded                 to     neither party a• a

                       public question ie involved,

                                 4.     The tempor ary injunction issued in ••id

                       cauee is hereby dismissed,




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                                          WOLVERINE SHOE &. TANNING CORP,
                                           a M1ch1gan corporation.              plaintiff




                                          T<MNSHJP OF PLIUNfIELD,              Defendant



                                                / /    .     ,.,   !   :   •


                                          8Y - .. .( ,;, J(A,·(• /
                                             It• Attorney ·



                                          GEORGE COMSTOCK• GLN>YS COMSTOCK•
                                          ANTHONY GEDRITIS, HELD GEDRITIS•
                                          l:l)flUJID BRODONSltI , and Sc.HIA
                                          BRCOOWSKI,         I>etendanta



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                                             thei¾tic:~;
                                                      ..____/




Plaintiffs 000024225
